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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

                                                 Chapter 11
    In re
                                                 Bankruptcy Case No. 20-10343 (LSS)
    Boy Scouts of America and
    Delaware BSA, LLC,1                          (Jointly Administered)
                     Debtors.

    National Union Fire Insurance Co. of
    Pittsburgh, PA, et al.,

                     Appellants.
                                                 Case No. 22-cv-01237-RGA
    v.

    Boy Scouts of America, et al.,

                     Appellees.

         ORDER APPROVING STIPULATION TO EXTEND WORD LIMITS

                  Upon consideration of the Stipulation to Extend Word Limits (the

“Stipulation”), a copy of which is attached hereto Exhibit A; and the Court having

determined that the relief requested in the Stipulation is in the best interests of the

parties to the above-captioned appeal; and upon all the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED that:


1
         The Debtors in the chapter 11 cases, together with the last four digits of each
         Debtor’s federal tax identification number, are as follows: Boy Scouts of America
         (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325
         West Walnut Hill Lane, Irving, Texas 75038.
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             1.     The Stipulation, attached hereto as Exhibit A, is APPROVED,

and the terms and conditions of the Stipulation are incorporated in this Order as if

fully set forth herein.

             2.     The word limit for the Debtors’ Omnibus Response to

Appellants’ Stay Motions is extended to a limit of 10,000 words, exclusive of any

accompanying supporting documents.

             3.     The Parties are authorized to take all actions necessary or

desirable to effectuate the relief granted pursuant to, and in accordance with, this

Order and the Stipulation.

             4.     This Court retains exclusive jurisdiction with respect to all

matters arising from or related to the implementation, interpretation, or enforcement

of this Order.



Dated: _______________


                                       HONORABLE RICHARD G. ANDREWS
                                        UNITED STATES DISTRICT JUDGE




                                         2
